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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION



MELVIN WOODARD,
D.O.C. # 797250,

      Plaintiff,

v.                                                          4:20cv152–WS/MAF

E. PEREZ-LUGO, M.D., et al.,

      Defendants.



               ORDER ADOPTING THE MAGISTRATE JUDGE’S
                   REPORT AND RECOMMENDATION

      Before the court is the magistrate judge's report and recommendation (ECF

No. 12) docketed May 7, 2020. The magistrate judge recommends that this action

be transferred to the Middle District of Florida. Plaintiff has filed no objections to

the report and recommendation.

      The court having reviewed the matter, it is ORDERED:

      1. The magistrate judge's report and recommendation (ECF No. 12) is

adopted and incorporated by reference in this order of the court.
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      2. The clerk shall TRANSFER this action to the United States District Court

for the Middle District of Florida, Jacksonville Division, for all further

proceedings.

      DONE AND ORDERED this 12th                day of     June    , 2020.




                                 s/ William Stafford
                                 WILLIAM STAFFORD
                                 SENIOR UNITED STATES DISTRICT JUDGE
